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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
                                   ____________________


 UNITED STATES OF AMERICA,                           No. 1:21-cr-40

                Plaintiff,                           Hon. Robert J. Jonker
 v.                                                  Chief United States District Judge

 CHRISTOPHER ALLAN BODEN,

             Defendant.
 _____________________________________/


          DEFENDANT CHRISTOPHER A. BODEN’S SENTENCING
                         MEMORANDUM

       The sentencing hearing for Defendant Christopher Allan Boden is scheduled for

February 25, 2022, at 3:00 p.m. Previously, on October 18, 2021, Mr. Boden appeared before

this Court, accepted responsibility for his actions, and entered a guilty plea to Counts 2, 16, and

21 of the Indictment, charging him with operating an unlicensed money transmitting business,

money laundering, and structuring, respectively. The Court accepted Mr. Boden’s guilty plea

and adjudicated him guilty.


                             SENTENCING CONSIDERATIONS

       18 U.S.C. § 3661 provides that “[n]o limitation shall be placed on the information

concerning the background, character, and conduct of a person convicted of an offense which a

court of the United States may receive and consider for the purpose of imposing an appropriate

sentence.” Mr. Boden respectfully requests that this Court exercise its discretion to consider all

of the factors set forth in 18 U.S.C. § 3553(a) to the extent applicable, “recognizing that

imprisonment is not an appropriate means of promoting correction or rehabilitation,” and not just


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the Guidelines. See 18 U.S.C. §§ 3553(a), 3582(a); United States v. Maddalena, 893 F.2d 815,

818 (6th Cir. 1989) (remanding for the District Court to consider the defendant’s mitigating

circumstances, in light of the District Court’s discretion to deviate from the Guidelines). Those

factors illustrate that 37 months, as recommended by the U.S. Probation Office—while a

significant downward variance from the advisory guidelines—is still far greater than necessary to

achieve the purposes of sentencing.

   I.      The nature and circumstances of the defendant and the
           context of the offenses of conviction suggest a term of
           probation is appropriate
        As illustrated in Mr. Boden’s Brief in Support of his Motion for Variance, (ECF No. 81),

it is no stretch to call Mr. Boden a pillar of his community, and he has worked hard his entire

adult life to expand access to science and technological education. That education was not

limited to the typical classroom subjects, and extended to things like cryptocurrency—Bitcoin,

for example. Mr. Boden taught classes at The Geek Group that taught people how Bitcoin and

the technology underlying it works, how to buy and sell Bitcoin on their own, and, as part of the

course fee, provided participants with Bitcoin to begin their own journey as owners of

cryptocurrency. Mr. Boden’s goal, as he explained to the Probation Office, was “simply to get

Bitcoin into the hands of as many people as possible. It was to Educate and Inspire as many

people as we could with the incredible potential all this new technology has to offer the world.”

        Mr. Boden eventually tried to make good on those goals by offering bitcoin for sale at

The Geek Group itself. But those sales were almost entirely handled by himself and his co-

defendants; The Geek Group as a whole was no criminal enterprise, and the vast majority of its

volunteers had nothing to do with the sale of Bitcoin.




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       Nevertheless, Mr. Boden does not treat his commission of this offense lightly. Nor does

he minimize his own role in the offense. At the same time, however, the circumstances of this

offense, when placed in the proper context, illustrate that a term of incarceration of 37 months is

far greater than necessary to achieve the purposes of sentencing. At their core, Mr. Boden’s acts

centered around the sale of Bitcoin for cash. The profits from those sales—when there were

profits—did not go to enrich Mr. Boden or his co-Defendants. Instead, the proceeds went toward

keeping the lights on, the heat on, and the mortgage paid at The Geek Group, which in turn

provided technical and scientific education to a wide array of people in Grand Rapids and

beyond.

       Mr. Boden recognizes that his conduct broke the law. But the Government’s prosecution

of these acts is far removed from the concerns that 18 U.S.C. § 1960 was designed to combat,

and which might give rise to the offense’s five-year maximum term of imprisonment. See 18

U.S.C. § 1960(a). Defendants addressed this at length in their Motion to Dismiss the Indictment

and will not rehash it here. (See ECF No. 37, PageID.122–123.) However, it warrants repeating

that Mr. Boden’s customers were “walk ins”—arms-length transactions which, though

admittedly not compliant with regulatory requirements, are a far cry from financing overseas

terrorism as the statute was designed to prevent in the wake of the September 11th attacks. (See

id.) Mr. Boden does not make light of his acts, but those acts are not the poster child for

violations of section 1960. Mr. Boden’s sentence should reflect that reality.

       The Government insists on a more developed conspiracy, and points to several messages

among the Defendants to suggest they were well aware that their acts violated the law. For

example, the Government notes that that Mr. Boden and his co-defendants “mixed” or “tumbled”

Bitcoin, and insists that this was done “to thwart anti-money-laundering controls.” (See ECF No.




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85, PageID.671–672.) Again, context is key. Mr. Boden initially participated in mixing bitcoin.

However, as he explained in his submission to the Probation Office, he learned that Coinbase—

the cryptocurrency exchange used to purchase Bitcoin—“was tracing the coins it sold for five or

more hops downstream.” (ECF No. 89, PageID.875–876.) While know-your-customer

regulations require just that—knowing one’s own customers—Boden understood that Coinbase

went much farther. He believed Coinbase would suspend or terminate the account used to

purchase BTC not only if one of his customers used the funds for illegal activity, but if one of his

customer’s customer’s customer’s customers did so. Avoiding such an outcome hardly amounts

to a scheme to thwart money laundering regulations, which do not (and indeed feasibly could

not) require such extensive downstream tracking of transactions. Again, Mr. Boden’s sentence

should reflect the fact that he and his co-defendants did not “mix” or “tumble” bitcoin in order to

evade government detection, but simply to avoid running afoul of their broker’s practices. That

“mixing” was not integral to the Defendants’ sales of bitcoin is made clear by the fact that they

abandoned the process because it was too costly and cumbersome.

        The Government also points to several conversations between the Defendants to suggest

that the Defendants were aware of structuring laws and were not acting on the advice of others in

structuring their banking deposits. (ECF No. 85, PageID.673–674.) Certain of these examples

are stripped of critical context.

        In the most jarring example, the Government alters a quote by omission to suggest Mr.

Boden is reacting to something he is not. The Government presents Mr. Boden’s all-caps,

expletive-laden message as a reaction to news that a bank employee inquired about large cash

deposits being made to his account. (ECF No. 85, PageID.673.) In fact, Mr. Boden’s apparently

panicked reaction is more in line with the character so many have written to attest to. The Geek




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Group had installed and maintained at its own expense a tornado siren to help alert the westside

community in a potential emergency. Mr. Boden had realized that he failed to test it on the first

Friday of the month at noon, when the conversation was taking place. The ellipses in the

Government’s brief do a lot of work, and the full context illustrates that the defendants did not

believe they were committing a crime. The Government’s omissions are in bold:

       VC 15:59:45: just got a call from [S.H.] at PNC

       Boden 15:59:52: YAY [S.] :)

       Boden 15:59:58: What’s up?

       Boden 16:00:08: We like [S.], he’s cool

       VC 16:00:08: he wants to know about the massive cash deposits going into your account

       Boden: 16:00:16: That was you ;)

       VD 16:00:21: money laundering, is what I told him

       Boden: 16:00:28: Good, he’s okay with that

       VC 16:00:32: lol

       Boden: 16:00:36: GOD DAMN IT!

       VC 16:00:39: I actually told him noting [sic]

       Boden 16:00:40: FUCK FUCK FUCK FUCK FUCK

       VC 16:00:42 nothing

       Boden 16:00:46 It’s NOON!

       Boden 16:00:53: It’s Friday the 1st

       VC16:00:54: Exactly noon

       Boden 16:01:01: and I’m not running my TORNADO SIREN

       Campbell 16:01:04: friday the 4th.




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        16:01:13: FFFFFFFFFFFFFFFUUUUUUUUUUUUUCCCCCCKKKKKKKK

        16:01:13: I forgot about it.

(See ECF No. 85-1, PageID.711–712.) As the Government’s memorandum notes, Boden’s

partner in the conversation explains that “there was a big money laundering arrests [sic] around

e-currency worldwide,” to which Boden responded “ok, but we’re not laundering money, lol”

and “I sell bitcoin.” (Id. at PageID.713.) Yet again, context matters. And the context here

illustrates that Boden’s messages are not a panicked reaction to a bank employee’s request for

information about cash deposits. The messages were plainly about his failure to test his tornado

siren at the correct time, and the follow up messages illustrate his belief that he was simply

selling bitcoin.

        Finally, the nature and circumstances surrounding Count 28 of the Indictment, which the

Government charged but Mr. Boden did not plead guilty to, warrant discussion. The

Government selects several quotations from Mr. Boden’s discussions with the Government’s

undercover officer, whom the Government sent to The Geek Group to pose as a cocaine dealer

purchasing bitcoin. Mr. Boden does not deny any of the statements the Government notes.

Again, however, the context of how Mr. Boden found himself in the situation in which he made

those statements matters.

        Mr. Boden gave another man a series of personal loans, memorialized by promissory

notes because, once again, Mr. Boden wanted to help the man. When generating those loans, the

borrower provided Mr. Boden with information to help collections efforts if needed. When Mr.

Boden came to realize that he would not be repaid, he first called the FBI. Later, Mr. Boden

took the information he had compiled to a law firm. The law firm offered to collect the debt in

exchange for a fee of 20% of the debt collected. Unfortunately, despite giving the firm the




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information in his possession, the firm was unable to recover any of the funds Mr. Boden had

loaned out. Mr. Boden thought the money was gone for good. The losses heaped additional

stress on Mr. Boden, who by then was struggling to keep The Geek Group afloat.

       As he explained in his statement to the Probation Office:

                  I could have told the undercover agent to go pound sand the
               moment he mentioned his career. I felt the hairs on my neck
               bristle with fear of ‘this is not your world and you do not belong
               here’ when he introduced himself, but I had to balance the bigger
               picture. That same morning, Moose had been in tears in my office,
               overwhelmed with stress about the shutoff notice and mortgage
               payment.

[ECF No. 89, PageID.885.]

       Mr. Boden does not believe this absolves him from his actions, and he does not expect—

let alone ask—the Court to ignore Count 28 of the Indictment. But the Court should be aware of

the complete circumstances that led to the acts charged in count 28. The Government dismisses

Mr. Boden’s above-quoted explanation, but Boden’s discussions with the Government’s

undercover agent are laden with demonstrable puffery (to put it charitably) that corroborates him

hoping to appear like he was not entirely out of his depth.

       During the October bitcoin purchase, for example, the undercover agent asked Mr. Boden

if he preferred large or small bills for the purchase of bitcoin. Boden explained: “No, it, it

doesn’t matter. Hundreds are great. Hundreds are easy to count.” “It’s when, it’s when guys

come in here and they want $25,000 and they show up with 20s and I’m like, oh, fuck you,

man.” (Ex. 1, at 26:7–15.) Mr. Boden hoped to project that he belonged in the same room as the

undercover agent. Despite presenting this as a frequent inconvenience, no cash transaction Mr.

Boden conducted approached anywhere near the $25,000 he boasted about. Another time, Mr.

Boden explained to the undercover agent that he had “like eight different guys I can buy




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[Bitcoin] from,” another fabrication to make him appear more connected—and more at ease—

though he fundamentally was out of his element. (Id. at 17:8–12.)

   II.      Respect for the rule of law and adequate deterrence are
            ensured
         The Government paints Mr. Boden as a man bent on escaping responsibility for his

actions and evading the rule of law. Not so. Mr. Boden accepts responsibility for his acts. He

stood before the Court at length on October 18, 2021, at his change-of-plea hearing and the Court

is in the best position to determine whether Mr. Boden has accepted responsibility and respects

the rule of law. Nevertheless, a few points warrant discussion.

         Incarceration is not necessary to promote respect for the rule of law in this case. The

Government presents Mr. Boden as a man who treats his prosecution as a joke, and highlights

that Mr. Boden “believed that if we were doing anything bad, . . . the worst that could happen is

that a couple of guys would . . . tell us to stop doing that. . . . [T]hat’s how the Government is

supposed to work.” (ECF No. 85, PageID.677.)

         Mr. Boden’s expectation about how the Government would approach this issue is not

borne of entitlement, but lived experience. The process he describes is in fact how other federal

agents worked with him on prior instances of regulatory violations. In 2014, a member of The

Geek Group purchased handheld radios for The Geek Group’s employees and volunteers to use

while in the building. This was important because of the size of The Geek Group’s building.

Mr. Boden showed the radios on one of The Geek Group’s YouTube videos and praised their

utility and low cost. A few months later, an agent from the FCC visited The Geek Group. The

agent enquired about the radios and explained the Chinese-made radios were not properly

authorized by the FCC to be used in the United States, and could interfere with critical radio




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frequencies. Then he answered questions from Mr. Boden and his team, and gave them a tour of

their truck. The Geek Group got new (compliant) radios and the problem was resolved.

          That experience colored Mr. Boden’s perceptions of regulatory issues like licensure for

money transmitting businesses. And that experience, rather than a non-acceptance of

responsibility, is what colors Mr. Boden’s statements to the U.S. Probation Office.

   III.      37 months’ imprisonment is greater than necessary to
             achieve deterrence in this case
          The PSR’s recommended term of imprisonment, while a significant downward variance

from the advisory guidelines, is still far greater than necessary to achieve deterrence in this case.

Mr. Boden’s and The Geek Group’s downfall were uniquely public. Mr. Boden did not only lose

everything he worked for; he publicly lost everything he worked for. Mr. Boden’s indictment for

selling bitcoin and The Geek Group’s dissolution as a result of those actions was well covered in

both local and national news media. See, e.g., Bianca Cseke, Former members of The Geek

Group indicted in connection to illegal Bitcoin trading, Fox 17 (Mar. 2, 2021),

https://tinyurl.com/mtxczrje; Kelly Cromley, Geek Group Shuts Down after Federal Authorities

Raid Office for Crypto Trading, Cointrust (Jan. 7, 2019), https://tinyurl.com/mu6an34z.

          And Mr. Boden himself has publicly accepted responsibility for his actions and his role in

the offense. Indeed, shortly after the Government executed its search warrant, he spoke candidly

in a YouTube live show to explain that his errors were his responsibility, and that he was going

to pay for those errors. This public acceptance of not only responsibility but consequences helps

to ensure that others are deterred from engaging in similar behavior in the future.

   IV.       Protecting the public from further crimes
          Mr. Boden is already deterred from engaging in this type of behavior in the future.

Specific deterrence is already achieved: After the Government executed the search warrant on


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The Geek Group, the organization, which Mr. Boden had worked his entire adult life to build,

collapsed overnight. Moreover, the Government has already obtained a money judgment of

$700,000 from Mr. Boden. As the money generated through the sale of bitcoin was used to fund

The Geek Group’s operations—rather than enrich Mr. Boden or his co-defendants—this amounts

to $700,000 out of Mr. Boden’s pocket. In short, Mr. Boden has lost everything he worked for.

Specific deterrence is already achieved.

   V.      The Black Book
        In Mr. DeJagaer’s letter to the Court attached to his Sentencing Memorandum (ECF No.

91), he describes his reaction during a proffer when the government showed him images from a

“black book,” the existence of which and contents therein appeared to surprise Mr. DeJagaer—

presumably because the anonymity with which The Geek Group promised to the purchasers of

bitcoin. The minimum 12-word phrases contained therein, are a type of passcode associated with

a corresponding bitcoin wallet or Trezor. While it is unclear know how this seized evidence was

presented to Mr. DeJager, there is nothing nefarious about its existence or the contents therein.

A vast majority of the phrased passcodes correspond to Mr. Boden’s accounts, others are from

friends and some mostly elderly clients who specifically asked Mr. Boden to keep the passcodes

as a backup in the event the owner of the bitcoin account lost the copy they retained. Again, to

help those who requested it, Mr. Boden kept (and kept safe until the raid) this backup copy of the

phrased passcode at the request of friends and mostly elderly clients who trusted (and continue to

trust) Mr. Boden. Again, context, while not everything, is important when the Court

contemplates the sentencing factors and imposes sentence.




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                                         CONCLUSION

         In light of the entire circumstances of this case, Mr. Boden respectfully submits that a 37-

month term of incarceration is more than necessary to achieve the purposes of sentencing. Mr.

Boden respectfully requests that the Court consider a term of probation.

                                                       Respectfully Submitted,

                                                       WARNER NORCROSS + JUDD LLP
Dated: February 18, 2022


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